Case 2:21-cv-05491-JAK-JPR Document 109 Filed 02/01/24 Page 1 of 2 Page ID #:1535



    1

    2

    3

    4

    5

    6

    7

    8                        UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
   10                                      No. 21-CV-05491-JAK (JPRx)
        CRAIG SCOTT MUHLRAD,
   11
                    Plaintiff,             ORDER RE JOINT REQUEST TO
   12
                                           CONTINUE HEARING DATES ON
               v.                          PENDING MOTIONS (DKT. 108)
   13
        THE CITY OF SAN MARINO,
   14   CALIFORNIA;
   15                Defendant.
   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28
Case 2:21-cv-05491-JAK-JPR Document 109 Filed 02/01/24 Page 2 of 2 Page ID #:1536



    1         Based on a review of the Joint Request to Continue hearing Dates on Pending
    2   Motions (the “Request” (Dkt. 108)), sufficient good cause has been shown for the
    3
        requested relief. Therefore, the Request is APPROVED.
    4
              The following deadlines shall apply to any post-trial motions in this matter:
    5
                     a. March 1, 2024: Plaintiff’s deadline to file motions
    6

    7                b. March 15, 2024: Defendant’s deadline to file oppositions

    8                c. March 22, 2024: Plaintiff’s deadline to file replies
    9                d. April 8, 2024: Hearing on motions
   10

   11   IT IS SO ORDERED.
   12

   13            February 1, 2024
        Dated:
   14                                                 John A. Kronstadt
                                                      United States District Judge
   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28
